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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

WESTERN DIVISIGN
)
INEOQUEST TECHNOL()GIES, )
INC. )
) Case NO.: CV-08-7773 GHK (PLAX)
Plaintiff )
) STIPULATION OF DISMISSAL
v ) WITH PREJUDICE
)
IXIA )
Defendant )
)
)

 

 

 

STIPULATION OF DISMISSAL WITH PREJUDICE

 

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Pursuant to Fed. R. Civ. P. 41(21)(1)(A)(ii), the parties dismiss this action,

including all claims and counterclaims, With prejudice, With each party to bear its

own costs.

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Dated: February 22, 2012

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STIPULATION OF DISMISSAL WITH PREJUDICE

 

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Ineoguest Technologies, Inc. v Ixia ~ USDC No. CV08-7773-GHK (PLAX)

PR()OF OF SERVICE
I am employed in the County of Los Angeles, State of California. l am over the age of 18
and not a party to the Within action. l\/Iy business address is 400 South Hope Street, SthFloor,
Los Angeles, CA 90071.
On February 24, 2012, I served the following documents in this action:

STIPULATION OF DISMISSAL WITH PREJUDICE

on all parties of record to this action as follows:

Daniel A Crowe Howard 0 Boltz , Jr

J Benllett Cla!'k Bryan Cave

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By Electronic Transfer to the CM/ECF System

In accordance With Federal Rules of Civil Procedure 5(d) (3), Local Rule 5-4, and General Order
07-08, l uploaded via electronic transfer a true and correct copy scanned into an electronic file in
Adobe "pdf' format of the above-listed documents to the United States District Court Central
District of California' Case Management and Electronic Case Filing (Cl\/I/ECF) system on this
date. lt is my understanding that by transmitting these documents to the Cl\/I/ECF system, they
Will be served on all parties of record according to the preferences chosen by those parties Within
the CM/ECF system. The transmission Was reported as complete and Without error.

l declare under penalty of perjury under the laws of the United States that the above is true and
correct and that l am employed in the office of a member of the Bar of this Court at Whose
direction the service Was made.

Dated: February 24, 2012

 

(/:) i;_.~ c
Gloria Hoshiko

Ineoquest v Ixia
File No. 079487-3

 

